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 1                    UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS
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 4   UNITED STATES OF AMERICA           )
                                        )
 5   vs.                                )
                                        )
 6                                      ) No. 1:16-cr-10225-DPW
     EDWARD J. TUTUNJIAN AND            )
 7   EJT MANAGEMENT, INC.,              )
                                        )
 8                       Defendants.    )

 9

10   BEFORE:   THE HONORABLE DOUGLAS P. WOODLOCK

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12                  EXCERPT FROM SENTENCING HEARING
           REMARKS AND PRONOUNCEMENT OF SENTENCE BY THE COURT
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15             John Joseph Moakley United States Courthouse
                              Courtroom No. 1
16                          One Courthouse Way
                             Boston, MA 02210
17                          December 13, 2016

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                        Brenda K. Hancock, RMR, CRR
21                        Official Court Reporter
                            brhancock@msn.com
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 1   APPEARANCES:

 2
          UNITED STATES ATTORNEY'S OFFICE MA
 3        By: AUSA Sandra S. Bower
              AUSA Michael L. Tabak
 4        1 Courthouse Way
          Suite 9200
 5        Boston, MA 02210
          On behalf of the United States of America.
 6

 7        GOOD SCHNEIDER CORMIER
          By: Andrew Good, Esq.
 8            Philip G. Cormier, Esq.
          83 Atlantic Ave.
 9        Boston, MA 02110
          On behalf of the Defendants.
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 1                             EXCERPT

 2            THE COURT:    Thank you, Mr. Tutunjian.

 3            Well, let me just ask one question, perhaps for

 4   Probation.    With respect to community confinement, assuming

 5   that that is a viable alternative here, number one, can the

 6   costs be imposed entirely on the defendant for, say, Coolidge

 7   House?

 8            THE PROBATION OFFICER:     I'm not certain, your Honor.

 9   I haven't seen that come up yet, but you mean the cost of

10   having him be held there?

11            THE COURT:    Right.   No cost to the government, take

12   away the liberty that is provided by community confinement in

13   Coolidge House.   That's the question.

14            THE PROBATION OFFICER:     I'm not sure it's authorized,

15   but your Honor could make a judicial recommendation, and that

16   way it would be something that would be considered if it is

17   authorized.

18            THE COURT:    And the respective costs, as I understand

19   them, annually for forms of incarceration or forms of

20   depravation of liberty set forth in Paragraph 127, they are

21   $30,621 a year for incarceration in the Bureau of Prisons,

22   $28,999 for community confinement, and for pure supervision

23   it's $3,909.

24            THE PROBATION OFFICER:     Yes, your Honor.

25            THE COURT:    Those are the respective costs.
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 1            THE PROBATION OFFICER:    Mm-hmm.

 2            THE COURT:   Well, this presents great difficulties.

 3   That does not entirely distinguish it from every sentencing

 4   that I have ever participated in, and that Ms. Bower has

 5   accurately described what I think is involved in sentencing,

 6   which is the accommodation of incommensurables, a variety of

 7   different goals, and some goals that frequently are at odds

 8   with each other.   The process of working that through comes to

 9   a result which is meant to be that accommodation, but it is

10   done in an overarching way.   Number one, the sentence should be

11   sufficient but no more than necessary to serve the purposes of

12   Section 3553.   I start with the guidelines themselves, not

13   because they are inherently reasonable, frequently I feel just

14   to the contrary, but in the case of the tax guidelines they

15   seem to me to be realistic.   Many of the guidelines do not

16   involve the kind of actual feedback that is supposed to inform

17   the Sentencing Commission.    The income tax guidelines do.

18            And so, those are a kind of touchstone and a

19   touchstone that suggests that in the heartland of cases -- and

20   I recognize that Mr. Good has argued that this is not in the

21   heartland of cases -- but in the heartland of cases the idea of

22   prison time somewhere above 24 months or more is reasonable.

23   But starting with the guidelines doesn't end it.   Section 3553

24   requires me to consider a variety of factors.   We have touched

25   on them in various ways here.
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 1            I want to start with the nature and characteristics of

 2   the defendant.   I credit Mr. Tutunjian's statement here about

 3   deep regret and unhappiness with his own inability to meet the

 4   high expectations that he had, and I must say that reading the

 5   letters that I've received here, and I have been at this quite

 6   some time, like Mr. Good, but this is the most impressive

 7   collection of letters I have ever received.   They touch on a

 8   variety of aspects of Mr. Tutunjian's life that are laudable.

 9   That is not a clearing of the throat on my part.   I think they

10   accurately capture Mr. Tutunjian as a human being.     One can go

11   through these and find all sorts of individual stories that are

12   personally affecting.

13            I do not mean to pick out vignettes, but rereading the

14   letters again over the weekend I just picked out shorthand

15   characterizations of him.

16            One is from Mr. Kaprielian, who writes that

17   Mr. Tutunjian is a "hard-working man who has shown many, many,

18   many kindnesses to others throughout his life."

19            There's another one from Elizabeth Sharawara, if I

20   pronounce it correctly.   I apologize if I have not.   But what

21   she said is that she's always seen the same values of family,

22   hard work, down-to-earth lifestyle displayed in the Tutunjian

23   home and in the community and through Mr. Tutunjian, and I

24   credit that.   These letters support that.

25            This is not lèse-majesté by some plutocrat.     This is I
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 1   think reflective of an unassuming man, a man who lacks

 2   arrogance, who has been essentially humble, who does have a

 3   concern about the general human condition.   Judges are adjured

 4   not to impose their judgment with fear or favor or tipping the

 5   scales toward the rich or the poor.   It is clear to me that

 6   Mr. Tutunjian takes each human being that he deals with on

 7   their own terms and is not hierarchically driven.   All of that

 8   is true, but that is not why we are here.

 9            We are here because of a business decision, a business

10   model that Mr. Tutunjian undertook, and that business model in

11   some ways -- and it is unfair to use shorthand descriptions or

12   at least not complete to use shorthand descriptions -- but this

13   was a business model of doing good enabled by doing wrong.

14   Doing good?   Yes.   Providing jobs for people who might not

15   otherwise have jobs?   Yes, being at least as disclosed in what

16   has been provided to me in a contested proceeding, not in a

17   one-sided story, but a contested proceeding in which parties

18   have had an opportunity to submit and contest the particulars,

19   an individual who treated his employees well on a variety of

20   different levels.

21            But the business plan was to do it by not doing what

22   every other business is required to do, and to be able to

23   obtain money by not paying the taxes that every businessman

24   should pay, by facilitating forms of government payment, like

25   Section 8 payments, in a way that manages to skim for his own
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 1   employees something that should be generally available on fair

 2   terms to everyone, and depriving his employees perhaps of some

 3   benefits that they do not fully understand.   He was dealing

 4   with a group of employees who have perhaps different views

 5   about paying taxes and the value of cash, perhaps value in cash

 6   up front as opposed to Social Security payments down the line.

 7   But the short of it is it was a business plan, a business plan

 8   that other businesses don't engage in and, consequently, can't

 9   benefit from, but he did, and benefit he did, very

10   substantially.

11              Now, I do not mean to in any way depreciate where I

12   started.   This is a hardworking individual; this is not someone

13   born with a silver spoon in his mouth.   He built the business

14   from the ground up, and he did it in a fashion that did not, at

15   least it appears to me, involve looking down on his employees.

16   He looked at them as a community, but it was a community that

17   benefited him substantially, and one can say that it is easier

18   to be generous when you have more money than other people, and

19   one of Mr. Tutunjian's ways of getting more money than other

20   people is to avoid the law.

21              Now, that treats it as a purely economic matter, and I

22   don't mean my characterization of the defendant to be put in

23   that sort of fashion.   Ms. Bower said that he was a complex

24   individual.   I think that that is correct.   It is a complex set

25   of circumstances.   Mr. Good talks in terms of multiple grounds
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 1   or multiple motivations, perhaps, here.   I think that is true.

 2   But I start with the nature and characteristics of the

 3   defendant, because perhaps more than anything else it focuses

 4   on the challenges of this case.

 5              But now I have to focus on the seriousness of the

 6   offense.   It is a lot of money carefully calculated by the

 7   parties to figure out what is involved, money that competitors

 8   probably would have enjoyed having access to.

 9              One of the reasons that the penalties in the tax

10   setting are ferocious is that they are a cost of doing

11   business, and so, to the degree that the penalties can be

12   imposed in a way to make it less attractive to incur those

13   costs, the government has had fairly substantial penalties

14   built into payroll tax violations, for example.   But it is too

15   much to say that it is just taxes.   On the other hand, it is

16   perhaps overwrought to say, as Learned Hand once said, taxes

17   are the price we pay for civilization, but it is, and so each

18   dollar that Mr. Tutunjian takes to distribute in the way that

19   he would like to distribute is taken from all of us, and that

20   is the seriousness of the offense.   Not nickel-and-diming, this

21   is big-time money, and it is in the context of people who are

22   not unhappy with the opportunity to receive cash, the

23   opportunity even to receive jobs, people who are new to this

24   country and perhaps don't embrace the idea that you pay taxes

25   as a price of civilization.   The short of it is, I view it as a
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 1   very serious crime.   The way in which you sanction it cannot

 2   just be money, it has to be something more.    It has to be the

 3   loss of liberty.

 4             Now, I turn to the questions that are raised by

 5   deterrence.   We talk sometimes in terms of specific deterrence

 6   and general deterrence.     Specific deterrence is what do we need

 7   to do to keep Mr. Tutunjian from doing this again?    Well, in

 8   some ways the unfolding of all of this has made it unlikely

 9   that Mr. Tutunjian will be engaged in this sort of thing again.

10   I have said that I am of the view that I should credit the

11   statement that he made here today.    It seems consistent with

12   slowly coming to grips with his responsibility.    I am not sure

13   putting him in jail is going to serve that purpose, and we have

14   to keep in mind that the standard that I employ is sufficient

15   but not more than necessary to serve the purpose of

16   Section 3553.

17             But then we come to general deterrence, and that is in

18   some ways the fishbone in my throat.    There are other people

19   out there less empathetic than Mr. Tutunjian, less likely to

20   give the shirt off their back than Mr. Tutunjian is.    Mr. Good

21   has referred to various of his previous clients, unnamed, might

22   fall in that category.    There are people who are just genuinely

23   greedy.   Let's use them.   So, they look at this and they say,

24   well, if you can pay a lot of money and not go to jail and not

25   have your liberty restricted, then it's worth it, because
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 1   general deterrence is I think served least by numbers of months

 2   in jail.   It becomes a metric.   It is much better served, I

 3   would think, or would be much better served by quick and

 4   certain punishment.

 5              But that is not the lot of our life in the criminal

 6   justice system in the United States.    Due process and a variety

 7   of other reasons, limited resources by prosecutors, all sorts

 8   of things, mean that it sometimes takes a long time to get to

 9   it.   And so, what do we have?    We have time in jail as a way of

10   saying to those other people who might be considering what

11   Mr. Tutunjian did, "Don't do it, because you're going to pay

12   for it."   That's what general deterrence is about, and that

13   weighs in favor, as I made clear, of restrictions on liberty,

14   generally incarceration.

15              I am concerned about disparity.   That's what the

16   Sentencing Guidelines were all about when they were created

17   just about the time I came on the Bench.     They really were

18   meant to address this; that Senator Thurmond felt very strongly

19   that white-collar defendants in the Northeast weren't getting

20   much in the way of sentences, that white-collar sentences or

21   sentences of economic crime were not being particularly

22   forcefully sentenced.   But that was not his major concern.     He

23   was really concerned with non-white-collar in the Northeast,

24   that judges were just too soft.

25              At the same time Senator Kennedy was concerned about
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 1   sentencing generally and the arbitrariness of it, perhaps less

 2   so for non-white-collar crime than for other kinds of crime

 3   having to do with their respective views about the social

 4   contract, but certainly Senator Kennedy was concerned about

 5   white-collar crime.

 6             And so, they imposed a structure, and the structure

 7   was meant to say, give voice to a view that Judge Friendly

 8   expressed:   that you can commit a crime with as much damage

 9   involving a crowbar as a fountain pen.

10             Now, calling this a white-collar offense does not

11   quite provide the nuance of where this took place and what kind

12   of business it was, but it is a crime of a fountain pen with

13   invisible ink that didn't show what was being paid out to

14   people.   And so, looking at this from the perspective of

15   disparity is very important to me.   If he came from an

16   underprivileged background, incurred as much loss to the United

17   States as Mr. Tutunjian did, there would be almost no talk

18   about not going to jail.   That may bespeak who judges are, what

19   class they come from, what the general attitude of the public

20   is, but it imposes a form of disparity.

21             And so, you look to the guidelines, and the guidelines

22   here, as I have said, provide a kind of reasonable range.     The

23   short of it is, departing from the guidelines or departing from

24   incarceration strikes me here as incurring the dangers of

25   unwarranted disparity that the guidelines system or the
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 1   Sentencing Reform Act of 1984 was supposed to deal with.

 2              So, then I come to the other major issue for me in

 3   formulating a sentence, and that is the impact of correctional

 4   treatment, generally thought of as incarceration.   I have read

 5   carefully the submissions, tried to familiarize myself a bit

 6   more about the impact of health conditions, looked at the

 7   question of the Bureau of Prisons' ability to deliver

 8   healthcare and particularly with reference to diabetes.

 9              I do credit the submission by Dr. Serdy concerning the

10   kinds of treatment that Mr. Tutunjian has had as his regimen

11   for some time now that manages his diabetes, and I do recognize

12   that interrupting that will to some degree interfere with his

13   medical circumstance.   And, just as general deterrence, what

14   would a non-jail sentence mean to others considering the kind

15   of activity that Mr. Tutunjian engaged in mean for evaluation

16   of whether it is worth it to do it?   I also have in mind that

17   imposing a collateral harm on someone else by sending him into

18   a medical environment that cannot provide the care that he has

19   been accustomed to and has apparently managed him is a form of

20   additional punishment, a kind of corporal punishment.

21              I am concerned, of course, by the idea that rich men

22   are able to go to the Joslin Diabetes Center; poor people

23   aren't always.   And so, does this lead to a disparity?

24   Perhaps.   But, ultimately, I am dealing with the sentencing of

25   an individual, and my sentencing of the individual has to take
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 1   into consideration all of these factors.    I believe that he has

 2   to be deprived of his liberty, but it doesn't have to be in the

 3   Bureau of Prisons; it can be in the community confinement.    I

 4   believe, but I will structure this, and Ms. Broquist will help

 5   me do that, that I can impose the costs on Mr. Tutunjian for

 6   the depravation of his liberty.

 7              Should the taxpayers pay some $30,000 a year to keep

 8   him in a medical facility of uncertain quality?    In this

 9   context I think not.   Should Mr. Tutunjian pay for his

10   depravation of liberty?    Yes, he should, at the Coolidge House

11   or some similar facility, and I am going to make it a period

12   of -- I believe I can do this, and Ms. Broquist will tell me --

13   18 months in the Coolidge House, all the costs to be paid for

14   by Mr. Tutunjian, and the way in which I think I would like to

15   do that is to say that he will pay the cost directly, and if he

16   doesn't, then he will pay as a cost of fine that amount.     We

17   may have to work out what that means under these circumstances.

18              Ms. Broquist.

19              THE PROBATION OFFICER:   Your Honor, I've been able to

20   clarify a little bit with our office while you have been

21   speaking, and, as it turns out, they have not seen it before

22   that it's been authorized, but the defendant would be required

23   to pay 25 percent of his income towards the subsidy of the

24   housing.   So, your Honor would want to impose that as a fine as

25   opposed to payment of the cost of the Coolidge House stay.
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 1            THE COURT:   Well, I think I would say not less than

 2   the cost of Coolidge House, the actual cost of Coolidge House,

 3   which I understand from the reports to be roughly $29,999 or

 4   25 percent of his income.   That is a fairly severe penalty, it

 5   seems to me, but it does two things.   Number one, it deprives

 6   him of liberty without imposing corporal punishment needlessly;

 7   and, second, it imposes an increased cost associated with this

 8   that he, himself, bears for being the author of his own

 9   misfortune and that of the public generally.   It may be that we

10   will have to work on the judgment in this case a little bit to

11   be sure that we have got this --

12            THE PROBATION OFFICER:    Yes, your Honor.   I'll get

13   some guidance from our office, and we will contact your clerk.

14            THE COURT:   But that is the direction in which I want

15   to go on this, considering all of these factors.

16            Now, let me go back to the particulars of the

17   recommendations and the sentence itself.

18            I am imposing a period of probation of 18 months, all

19   18 months of which to be served in the community confinement.

20   The community confinement shall provide for the defendant to

21   make his own arrangements for medical treatment.

22            There is a fine to be imposed, and the fine is that

23   the defendant pay not less than $28,999 on a per annum basis

24   for his cost of confinement in the community confinement

25   facility to which he is designated and not more than 25 percent
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 1   of his income.   I understand that that income can be

 2   manipulated to some degree, but it is also going to be

 3   supervised by his obligations with respect to the Internal

 4   Revenue Service.

 5            There is restitution in the amount of $1,391,012 to

 6   the IRS and $699,718 to the Wage and Hour Division of the

 7   Department of Labor.   I understand that to have been paid, but

 8   it will be embodied in the Judgment itself.    In addition, the

 9   defendant is obligated to pay a Special Assessment of $515 here

10   for these several counts.

11            So long as the defendant has not paid all of his

12   financial obligations, which are due and owing immediately, the

13   defendant is going to be required to provide access to the

14   Probation Office of any requested financial information.       That

15   may be shared with the United States Attorney's Office.     The

16   defendant shall file within 60 days of being placed on

17   probation -- and he has now been placed on probation, which I

18   believe is available because he was not taken into custody.       Am

19   I correct?

20            THE PROBATION OFFICER:    Yes, your Honor, it is

21   available, given the classes of conviction.    Yes.

22            THE COURT:    Given?

23            THE PROBATION OFFICER:    Given the type of the

24   convictions.

25            THE COURT:    Right.   The defendant is required to
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 1   provide the Examination Division of the IRS with all financial

 2   information necessary to determine his prior tax liabilities

 3   and to provide the Collection Division all financial

 4   information necessary to determine his ability to pay.     And I

 5   will say that the fine, which can be as high as 25 percent of

 6   his income, is to take priority under these circumstances.    He

 7   is to pay the fine before he pays the IRS for the ongoing

 8   financial obligations, except for the restitution up to date.

 9            He is obligated to file accurate and complete tax

10   returns for those years in which the returns were not filed or

11   in which inaccurate returns were filed.   He must make a

12   good-faith effort to pay all delinquent and additional taxes.

13            He is subject to the mandatory conditions, that he not

14   commit another federal, state or local crime, that under these

15   circumstances he must provide a DNA sample as directed by the

16   Probation Office.   I will not impose a drug-testing condition,

17   because it seems to me to be inappropriate here.   And he must

18   comply with the special conditions, including those that I have

19   dealt with financially.    But he is prohibited from possessing a

20   firearm or other dangerous weapon, and, as I have indicated, he

21   is going to be required to pay the balance of his fine and

22   restitution according to any payment schedule that I might

23   authorize if he does not pay it promptly.   So, that provides a

24   degree of supervision by the Probation Office over his

25   financial circumstances.
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 1            I will add that, if there is any manipulation of

 2   income here, I will view it as a violation of his conditions of

 3   probation.   This is not meant to provide a distortion of the

 4   way in which he takes income here.     I also recognize that this

 5   is an uncertain time for him and for his family in terms of

 6   income, but, given that uncertainty, it is still necessary to

 7   provide a realistic form of supervision, and that is what I

 8   intend to do during the 18 months.

 9            I assume that there will be a request for

10   self-surrender here.

11                         (Mr. Good nodded)

12            THE COURT:     He is simply to permit that to take place

13   in a reasonably orderly fashion.     But what ordinarily --

14            THE PROBATION OFFICER:      Your Honor, what we would do

15   is, once the judgment is issued, we would do a referral to the

16   Coolidge House, and because it's a condition of probation it

17   wouldn't really be a self-surrender per se; it would just be as

18   soon as a bed is made available.

19            THE COURT:     All right.   So, we will deal with it in

20   that fashion.   I do not mean it to be disorderly; I mean it to

21   be as seamless as possible to serve Mr. Tutunjian's medical

22   needs, in particular.

23            But let there be no mistake.     Coolidge House is not

24   Belmont, and it is a depravation of one's liberties, but it is

25   also an opportunity for you, Mr. Tutunjian.     There are people
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 1   there who are probably not unlike some of the people that you

 2   were helpful to in getting jobs and so on, people who are down

 3   on their luck who are trying to get started.        You have been

 4   supportive to people like that in the past.        My expectation is

 5   you will be supportive to people in that location in the

 6   future.   That, at least, is part of why I have made that choice

 7   for that kind of sentence for you.

 8               You should understand as well you have a right of

 9   appeal in this session, anyway, and you will discuss with your

10   lawyers whether that makes any sense under these circumstances.

11               MS. BOWER:   Your Honor, can I ask a clarifying

12   question?

13               THE COURT:   Sure.

14               MS. BOWER:   So, if I understand it, the fine being

15   imposed is at least $28,999 per year.

16               THE COURT:   Right.

17               MS. BOWER:   But up to a quarter of his income --

18               THE COURT:   Yes.

19               MS. BOWER:   -- whichever is greater.

20               THE COURT:   It will be the higher, the higher of the

21   two.

22               MS. BOWER:   Okay.    Thank you, your Honor.

23               MR. GOOD:    I just want to consult.

24               THE COURT:   Yes.    Sure.

25                 (Counsel conferred off the record)
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 1              THE PROBATION OFFICER:   And, your Honor, just as part

 2   of the condition that he reside at Coolidge House, if you could

 3   also just add that he be required to comply with the rules of

 4   the facility.

 5              THE COURT:   Yes.

 6              THE PROBATION OFFICER:   Thank you.

 7              MR. GOOD:    I just have one point of clarification,

 8   your Honor.   Mr. Tutunjian has income from the business, and we

 9   understand the direction not to manipulate that, and I

10   understand that he is to pay 25 percent of that income as the

11   fine, because it will exceed, I think, the annual cost.

12              THE COURT:   Right.

13              MR. GOOD:    The only other issue is that, as the

14   agreement reflects, he has been selling real estate in order to

15   pay the bank and pay his taxes.     So, I'm hoping that the Court

16   will treat the 25 percent as his earned salary, not the sale of

17   the proceeds, because that he needs for these other

18   obligations, the tax and --

19              THE COURT:   It does, but I treat it as his adjusted

20   gross income.

21              MR. GOOD:    Okay.

22              THE COURT:   It is not take-home salary from the

23   company.   It is his adjusted gross income.

24              MR. GOOD:    Thank you, your Honor.

25              THE PROBATION OFFICER:   And, your Honor, just for
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 1   clarification, it may take some time to get a bed for the

 2   defendant.   So, when you say the 18 months, all of which to be

 3   served in the community confinement --

 4            THE COURT:   It starts to run --

 5            THE PROBATION OFFICER:    -- can we say less --

 6            THE COURT:   It starts to run when he enters Coolidge

 7   House.

 8            THE PROBATION OFFICER:    But he would also have to,

 9   then, technically be on probation a little bit longer than that

10   for us to have authority, because if he's -- so perhaps we

11   could say --

12            THE COURT:   Okay.   That's fair enough.

13            THE PROBATION OFFICER:    -- the 18 months minus the

14   time it takes to place him in Coolidge House, which I imagine

15   can be done relatively quickly, or to add another month to give

16   us the time.   Because, otherwise, I don't think we would have

17   authority over him until the sentence started.

18            THE COURT:   All right.   So, I think the way to

19   accommodate that practical issue is simply say 20 months of

20   probation, 18 months of which to be served in community

21   confinement.

22            THE PROBATION OFFICER:    Thank you, your Honor.

23            MS. BOWER:   I'm sorry.

24            THE COURT:   No, no.   It is fashioning a sentence that

25   is somewhat unusual, so it is important to talk through some of
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 1   these issues.

 2            MS. BOWER:   So, back to the 25 percent of his adjusted

 3   gross income.

 4            THE COURT:   Right.

 5            MS. BOWER:   For one year or for one year and

 6   25 percent of the six months for the second year?

 7            THE COURT:   It is for 18 months' worth of --

 8            MS. BOWER:   18 months' worth of income?

 9            THE COURT:   Right, adjusted gross income over the

10   21 months.

11            MS. BOWER:   The 21 months.

12            THE COURT:   I should say the 18 months that he is in

13   custody in the Coolidge House, subject to Coolidge House.

14            Now, I have a feeling that this judgment, more than

15   other judgments, is going to be an iterative document, because

16   there are some corners that have to be squared properly, and we

17   will do that, but I think we all understand the purpose of this

18   sentence and the way in which it has been fashioned.

19            Mr. Good, did you have something else you wanted to

20   add?

21            MR. GOOD:    Yes.   As your Honor has observed at the

22   guilty plea hearing --

23            THE COURT:   I'm sorry?

24            MR. GOOD:    As your Honor observed at the Rule 11

25   hearing, Mr. Tutunjian no longer owns the taxi business, and we
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 1   have advised him not to participate in that business at all for

 2   City of Boston relationship reasons.       Now, he can continue to

 3   draw a salary without working there, but I am not sure that

 4   it's in anyone's interest for him to actually work in the taxi

 5   business.

 6               THE COURT:   He will not be doing that for 18 months.

 7               MR. GOOD:    So, if he's at Coolidge House, at least in

 8   my experience, people work at some part of the day, so he'll

 9   get some sort of employment other than taxi business.

10               THE COURT:   I will leave it to the Coolidge House to

11   develop it, develop a program, which could include community

12   service as well, as far as I'm concerned.

13               MR. GOOD:    Okay.   I just want to make clear about

14   that.

15               THE COURT:   But that is going to be dealt with at

16   least at the initial stages by Coolidge House.       To the degree,

17   however, that forbearing a salary is reducing his adjusted

18   gross income for this period in which he is obligated to pay a

19   portion of it as a fine, that it seems to me may be a departure

20   from my intent and something that I would look at as a

21   violation of the terms of probation.

22               MR. GOOD:    Understood.

23               THE COURT:   But this is going to be policed by a

24   variety of different entities, the IRS, Probation, and the

25   U.S. Attorney's Office here, and if there is something going on
                                                                           23




 1   I will learn about it pretty quickly --

 2               MR. GOOD:    Very well, your Honor.   Thank you.

 3               THE COURT:   -- I anticipate.   Any other questions at

 4   this point, recognizing this is going to have to be developed a

 5   bit more?

 6               So, then we turn to the question of EJT.     There is a

 7   suggestion in some of the submittals that more of a fine or a

 8   fine could be imposed, that sort of thing.        I think that the

 9   focus, particularly in the uncertainty here, ought to be and is

10   on Mr. Tutunjian and his responsibility.      I am going to adopt

11   in toto the recommendation that is jointly provided by the

12   parties under these circumstances, that is, probation for one

13   year, restitution in the amount of $219,307 to HUD, which I

14   understand has been made as of today, or has been made, I

15   should say.    I will not impose a fine under these

16   circumstances.    There is mandatory Special Assessment of $400.

17               Now, what that means in practice is that the corporate

18   defendant remains under the supervision of the Probation

19   Office, and it has to comply with the mandatory conditions that

20   it not commit another federal, state or local crime; that it

21   within 30 days designate an individual, official of the

22   organization to act as the organization's representative and it

23   be the primary contact; that it provide and answer truthfully

24   all inquiries by the Probation Office and follow the

25   instructions of the Probation Office; that it must notify the
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 1   Probation Office at least ten days prior to any change of

 2   principal business or mailing address; and it shall permit the

 3   Probation Office to visit the organization at any of its

 4   operating locales; that it notify the Probation Office within

 5   72 hours of any criminal prosecution, major civil litigation or

 6   administrative proceeding; that it may not dissolve, change its

 7   name or change the name under which it does business unless all

 8   of the judgment involved here has been satisfied, and that,

 9   frankly, includes the obligation to assure compliance by

10   Mr. Tutunjian with his financial obligations here.   And the

11   organization may not waste or without the permission of the

12   Probation Office sell or assign or transfer its assets.

13            Now, the Probation Office is not going to be acting as

14   a receiver or a supervisor of the business, but they are going

15   to be involved to make sure that there are payments here that

16   are properly made involving Mr. Tutunjian and that there is not

17   waste from the business.

18            I must add, I guess, that, given the way in which I

19   have formulated Mr. Tutunjian's sentence, I should have a

20   parallel sentence for EJT for purposes of the time period of

21   probation, making it 20 months to run concurrently with

22   Mr. Tutunjian's probation, because they are mutually

23   reinforcing under these circumstances, and both Mr. Tutunjian

24   personally and the corporate entity have reinforcing

25   responsibilities.   I won't call it "personal guaranties,"
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 1   because that has a particular resonance in this setting, but

 2   that's what it amounts to.

 3            MR. CORMIER:   Just so we are clear, your Honor, for

 4   instance, if EJT were to have a buyer to buy the medallions,

 5   does that require --

 6            THE COURT:    Yes.

 7            MR. CORMIER:   -- preapproval of Probation?

 8            THE COURT:    It does.

 9            MR. CORMIER:   That's fine.

10            THE COURT:    It does.   Is that going to be withheld

11   unreasonably?   Of course not.    But any movement of assets here

12   are something that I want to know about --

13            MR. CORMIER:   Understood.

14            THE COURT:    -- or, more accurately, Probation should

15   know about, and if they are concerned about it, then we'll take

16   it up.

17            MR. CORMIER:   Got it.    Thank you.

18            THE COURT:    Anybody else that we need to take up at

19   this point?   So, Ms. Beatty, I think, together with

20   Ms. Broquist will get to work on a first draft, and I will

21   approve it, and it will be provided to the parties before we

22   enter this, just so that we are all on the same page for it,

23   but I think you understand the plot of this.

24            Anything further?

25            MS. BOWER:    No, sir.
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 1              THE COURT:   All right.   We'll be in recess.   Thank

 2   you.

 3              THE CLERK:   All rise.

 4          (WHEREUPON, the proceedings adjourned at 12:16 p.m.)

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 4            I, Brenda K. Hancock, RMR, CRR and Official Court

 5   Reporter of the United States District Court, do hereby certify

 6   that the foregoing transcript constitutes, to the best of my

 7   skill and ability, a true and accurate transcription of my

 8   stenotype notes taken in the matter of U.S. v Tutunjian, et

 9   al., No. 1:16-cr-10225-DPW.

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13

14   Date:    6/26/19               /s/ Brenda K. Hancock
                                   Brenda K. Hancock, RMR, CRR
15                                 Official Court Reporter

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